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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

CORNELL SMITH,

               Petitioner,                       CRIMINAL CASE NO. 04-80857
vs.                                              CIVIL CASE NO. 07-11145
                                                 HON. LAWRENCE P. ZATKOFF
                                                 MAGISTRATE JUDGE DONALD A. SCHEER
UNITED STATES OF AMERICA,

            Respondent.
_____________________________/

       ORDER DENYING PETITIONER’S MOTION FOR RECONSIDERATION

       This matter comes before the Court on Petitioner’s Motion for Reconsideration, filed on

March 11, 2008 [dkt 302]. Petitioner challenges the Court’s February 8, 2008, Opinion and Order

adopting Magistrate Scheer’s Report and Recommendation and denying Petitioner’s Motion to

Vacate, Set Aside, or Correct Sentence. Pursuant to E.D. Mich. L.R. 7.1(g)(2), no response is

permitted.

       Local Rule 7.1(g)(3) governs motions for reconsideration, stating that “the court will not

grant motions for rehearing or reconsideration that merely present the same issues ruled upon by the

court, either expressly or by reasonable implication.” E.D. Mich. L.R. 7.1(g)(3). The same

subsection further states, “the movant must not only demonstrate a palpable defect by which the

court and the parties have been misled but also show that correcting the defect will result in a

different disposition of the case.” Id.

       Petitioner alleges that his Reply to Response [dkt 301] was filed in a timely fashion on

December 29, 2007, but, for some unknown reason, it was not delivered to the Court. The Court

finds Petitioner’s explanation satisfactory and accepts his Reply to Response as timely filed.

Nonetheless, after reviewing Petitioner’s Reply and the case file, the Court finds that Petitioner
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raises the same issues that were considered either directly or by reasonable implication in Magistrate

Scheer’s Report and Recommendation that the Court adopted on February 8, 2008. Further,

Petitioner does not allege any palpable defects in the Court’s decision. Therefore, Petitioner’s

Motion for Reconsideration is HEREBY DENIED.



       IT IS SO ORDERED.



                                               s/Lawrence P. Zatkoff
                                               LAWRENCE P. ZATKOFF
                                               UNITED STATES DISTRICT JUDGE

Dated: March 19, 2008

                                  CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of this Order was served upon the attorneys of record
by electronic or U.S. mail on March 19, 2008.


                                               s/Marie E. Verlinde
                                               Case Manager
                                               (810) 984-3290




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